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 1
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 4   Telephone: (559) 237-6000
 5   Attorney for Defendant, PAUL WHITMORE
 6
 7                           UNITED STATES DISTRICT COURT
 8                          EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,   )                CASE NO: CRF-02-5301 OWW
                                 )
11            Plaintiff,         )
                                 )                ORDER AFTER HEARING
12        v.                     )
                                 )
13   PAUL WHITMORE,              )
                                 )
14            Defendant.         )
                                 )
15   ____________________________)
16         The above matter came on calendar at the request of counsel for Defendant

17   Paul Whitmore, before the Hon. Oliver W. Wanger, Senior United States District Court

18   Judge on January 8, 2008 at 12:30 p.m.       Mr. Whitmore was personally present

19   represented by his counsel, Roger K. Litman. The United States was represented by

20   David Gappa, Assistant United States Attorney.

21         At the request of the defense, Mr. Gappa exited the courtroom to allow the

22   defense to take up the matter of status of counsel for Mr. Whitmore. Oral

23   presentation was made to the court setting forth the reasons why Mr. Litman felt that

24   he could not ethically continue to represent Mr. Whitmore.

25         The court explained to Mr. Whitmore the law applicable to the situation before

26   the court. Mr. Whitmore advised the court that he understood his counsel’s ethical

27   dilemma. Mr. Whitmore advised the court that he agreed that it was in his best

28   interest that Roger K. Litman be relieved as his attorney of record and that new

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 1   counsel be appointed for him.

 2         Mr. Gappa then returned to the courtroom. The court stated its legal

 3   conclusion that good cause had been set forth to relieve Roger K. Litman as the

 4   attorney of record for defendant Paul Whitmore.

 5         The matter was continued for a status conference to January 14, 2008 at 9:00

 6   a.m. before Judge Wanger to afford the panel administrator a reasonable opportunity

 7   to secure replacement counsel for Mr. Whitmore.

 8         The court ordered that the notes of the Certified Shorthand Reporter, taken

 9   during this hearing, are to be sealed and not transcribed or disseminated in any

10   manner absent specific order of the court.

11
     APPROVED AS TO FORM AND CONTENT:
12
13   DATED: January 9, 2008              /s/ David Gappa                  __
                                         DAVID GAPPA
14                                       Assistant United States Attorney
                                         This was agreed to by Mr. Gappa
15                                       via telephone, on January 9, 2008
16
     IT IS SO ORDERED.
17
   Dated: January 10, 2008                   /s/ Oliver W. Wanger
18 emm0d6                               UNITED STATES DISTRICT JUDGE
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